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FORM TO BE USED BY PRISONERS IN FILING A COMPLAINT UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. §1983
IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

COMPLAINT SoG HVERN DISTRICT OF MISSISSIPPI
| FILED __
_Doh eso } 9 |
(Last Name) (Identification Number) | FEB 28 2020 |
OCS Lama. — ARTHUR JOHNSTON
(First Name) (Middle Name) BY DEPUTY}
Roa Kin Cauaty Sarl
(institution) .
(Address)
(Enter above the fullname of the plaintiff, prisoner and address
of plaintiff in this action)
Vv CIVIL ACTION NUMBER: iL D+y

(to be completed by the Court)

Rcyaot Roi ley

(Enter the full name of the defendant(s) in this action)
GENERAL INFORMATION

A. At the ops of the incident complained of in this complaint, were you incarcerated?
Yes (&”) No( )-

B. Are you presently incarcerated?
Yes (L4 No( )

CG At the time of the incident complained of in this complaint, were you incarcerated because
you had been convicted of a crime?
Yes( ) No ( v5

D. Are you presently incarcerated for a parole or probation violation?

Yes( ) No(“)

E. At the time of the incident complained of in this complaint, were you an inmate of the ~
Mississippi Department of Corrections (MDOC)?
Yes( ) No (ey

F. Are you currently an inmate of the Mississippi Department of Corrections (MDOC)?
Yes( ) No(¢7

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PARTIES

(In item I below, place your name and prisoner number in the first blank and place your present
address in the second blank.)

I. Name of plaintiff: (1 atx ach hsoC) Prisoner Number: { of agh

Address:

OO Nal, Tiler st Brander Ms 397043

_ in item II below, place the full name of the defendant in the first blank, his official position in the
second blank, and his place of employment in the third blank. Use the space below item II for the
names, positions and places of employment of any additional defendants.)

i aan
I. Defendant: Bevacd Barley is employed as Shet iff aver the Caunty
Sot at Racin Cox warty ei)

The plaintiff is responsible for providing his/her address and in the event of a change of address, the
new address of plaintiff as well as the name(s) and address(es) of each defendant(s). Therefore, the
plaintiff is required to complete the portion below:

PLAINTIFF:
NAME: ADDRESS:
Caruis Bshnson dO AeTimber st Rrondon Ms 39912
DEFENDANT(S):
NAME: ADDRESS: .

Re Yat Railey QO NT mMhec st. Rrandan Ns 204%

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OTHER LAWSUITS FILED BY PLAINTIFF
NOTICE AND WARNING

The plaintiff must fully complete the following questions. Failure to do so may result in your case being dismissed.

A. Have you ever filed any lawsuits in a court of the United States? Yes “Dy No ( le

B. If your answer to A is yes, complete the following information for each and every civil action
and appeal filed by you. (If there is more than one action, complete the following
information for the additional actions on the reverse of this page or additional sheets of

paper.)

CASE NUMBER 1. a
t, Parties to the action: 5 ha~- CY 00009 -[)Po- EK &

2. Court (if federal court, name the district; if state court, name the county):

UniteD) stoles Distcick Com southern Disttot Mss.$siep,

3. Docket Number: 4

4. ‘Name of judge to whom case was assigned: F Keith Rall _in Dao‘el 2 Sados, tl

a: Disposition (for example: was the case dismissed? If so, what grounds? Was it

appealed? Is it still pending?) (3 ot Still pend ng

CASE NUMBER 2.
i. Parties to the action:
2. Court (if federal court, name the district; if state court, name the county):
33 Docket Number:
4. Name of judge to whom case was assigned:
a Disposition (for example: was the case dismissed? If so, what grounds? Was it

appealed? Is it still pending?)

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STATEMENT OF CLAIM

State here as briefly as possible the facts of your case. Describe how each defendant is
involved. Also, include the names of other persons involved, dates and-places. Do not give
any legal arguments or cite any cases or statutes. Ifyou intend to allege anumber of different
_ claims, number and set forth each claim in a separate paragraph. (Use as much space as you
need; attach extra sheet(s) if necessary).

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RELIEF
Meat foxes
State what relief you seek from the court. Make no legal arguments. Cite no cases or
statutes.

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Signed this Q/, day of _ Fel __,2020

I declare (or certify, verify or state) under penalty of perjury that the foregoing is true

and correct.

Corus DohNson
Signature of plaintiff

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